Case 4:23-cr-20359-SDK-Cl ECF No. 11, PagelD.28 Filed 06/28/23 Page 1 of 1

AO 442 (Rev. H/11) Arrest Warrant Officer:

AUSA: — Longsworth Telephone: (810) 766-5177
Sean Thomas Telephone: (857) 283-3423

UNITED STATES DISTRICT COURT

for the

Eastern District of Michigan

United States of America
Vv.

ALLAN W. CLARK

Case: 4:23-cr-20359 “rem,

ARREST WARRANT

To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) ALLAN W,. CLARK

who is accused of an offense or violation based on the following document filed with the court:

I Indictment C Superseding Indictment CJ Information C] Superseding Information [[] Complaint
(_] Probation Violation Petition CJ Supervised Release Violation Petition [_] Violation Notice [7] Order of the Court

This offense is briefly described as follows:

Possession of Cocaine with Intent to Distribute in violation of 21 U.S.C. § 841(a)

Date: June 21, 2023

City and state: Fi } rl et

> 7 I tc LED YDS C.
oo issuing officer 'S Sign
Tracy sig DEPUTY CL CLERK

Printed name and litle

Return

This warrant was received on(datey OG / Z@ 2B
at (city and state) ir L { AT \ .

Date: iy ° ZG- 1%

, and the person was arrested on (date) © of a 6/23 _

TP Ei Alef Neo 2 2

Printed name and tHe

Distribution: Original Court — icopy U.S. Marshal - 2 copies USA
